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FLAVIO AGUIRRE, wm ._ z _ ._
Individually CIVIL ACTION NO.
Plaintiff, 4:08-CV-479-A

v.

JOSE AGUIRRE d/b/a - Aguirre’s Auto
Sales and Service

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Defendant.

PLAINTIFF’S BRIEF IN SUPORT OF MOTION FOR SUMMARY JUDGMENT

Plaintiff files this his Brief In Support of Motion for Summary Judgment
asking the Court to enter a final judgment against Defendant and in support thereof would
show the court the as follows:

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In accordance with Local Rule 56.3 (a)(l) Plaintiff would show the Court that
this is a suit for damages arising under the Fair Labor Standards Act (“FLSA”) (29
U.S.C. §§ 206, 207, and 215 (a)(2) & (3). Specifically Plaintiff asserts, that he is a
covered employee of Defendant who was his employer; and, that Defendant failed to pay
Plaintiff’s wages in compliance with 29 U.S.C. §§ 206, 207 and 215 (a)(2). Defendant
seeks summaryjudgment on his claims; and, the elements necessary to establish a prima

facie case of each are as follows:

Plaintiff asserted two alternate basis for FLSA coverage against the Defendants,
' employer coverage and covered employee application of FLSA. However, Plaintiff need

only show that one of the two asserted basis apply in order to satisfy the jurisdictional

coverage of the FLSA. Once Plaintiff establishes coverage he must also demonstrate

 

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evidence of the amount of past wages due. See Robertson v. Alaska Juneau Gold Mining

Co., 157 F.2d 876, 878 (9th Cir.l946), cert. den., 331 U.S. 823, 67 S.Ct. 1314 91 L.Ed.

 

1839 § 1947), vacated on other grounds, 331 U.S. 793, 67 S.Ct. 1728 91 L.Ed. 1821

11947[.

II.
FACTS

Plaintiff presented a sworn, verified Complaint (Exhibit A) and verifying affidavit
attached hereto (Exhibit B) to establish that he is a covered employee under the FLSA
and that Defendant has three entities as shown by Exhibit C that comprise a common
enterprise that is a covered employer under the FLSA. Plaintiff would further show that
while Defendant filed a letter with the court on October 1, 2008 he did not deny the
allegations that Plaintiff is a covered employee, that he failed to pay overtime of the
amount of hours alleged. Defendant has failed to file an answer. Plaintiff has presented
unrefuted evidence of his wages and hours through Exhibits A and B. Attached as
Exhibit D is an affidavit of fees and costs. The evidence presented established

conclusively that the court has jurisdiction and the amount of back wages owed.

III
ARGUMENT & AUTHORITY
FLSA Coverage
Employer coverage may be established by individual entity or by enterprise coverage
under section 3(d) of the FLSA, 29 U.S.C. § 203(d) and Section 3(s)(1) of the FLSA, 29
U.S.C. § 203(s)(1). The evidence shows that Defendant operates three entities at the

location that Plaintiff was employed at, including Beast Perf`ormance and Aguirre’s

Garage (Exhibit C). Plaintiff has verified that the entities have common ownership and

 

 

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locations as well as employees and customers. (Exhibit B) Specifically all three entities
have the same business purpose in that they are involved in the automotive industry
including buying fixing up and selling used cars, improving automobiles and trucks for
show and repairs of vehicles. The vehicles were manufactured with parts from multiple
states and countries and traveled across state lines to reach their market in Texas. The
parts used to repair and or improve the vehicles were delivered through interstate
commerce and the final product, drivable automobiles were used on interstate roads.
These factors clearly establish that the enterprise of` Defendant extends to and includes
not only Aguirre’s Auto Sales and Service but also Aguirre’s Garage and Beast
Performance and that this enterprise engaged in interstate commerce and on information

and belief had combined revenues in excess of $500,000 annually.

Alternately as established by the verifying affidavit and complaint of` Plaintiff the
duties of Plaintiff Aguirre place him solidly in the category of a covered employee as he
engaged in interstate commerce. Specifically, Plaintiff was employed by Defendants as
a mechanic. He received parts through interstate shipping, installed them on vehicles that
traveled on interstate highways, test drove vehicles on interstate roads, prepared vehicles
for sale that would travel on interstate road and otherwise engaged in interstate
commerce. 29 U.S.C. §§ 206-207. Plaintiff was not employed by a motor carrier and his
duties did not affect safety under Section 13b of` the FLSA Texas Farm Prods. Co. v.
Williams, 406 S.W.2d 256, 259 (Tex.Civ.App.-Tvler 1966, writ ref‘d n.r.e.), cert. denied,
388 U.S. 911, 87 S.Ct. 2116, 18 L.Ed.2d 1350 (1967). Accordingly, Plaintiff was

covered by the FLSA and is entitled to overtime pay f`or hours worked in excess of forty

hours per week under the FLSA.

 

 

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Wages

Plaintiff has provided sworn verification that he routinely works in excess of 40
hours per week, specifically his work hours were 10.5 hours daily 6 days a week for 15
years with no vacation. The workweek did not fluctuate. The total weekly hours were 63
which equates to 23 hours per week of overtime. Plaintiff was not paid overtime for any
hours he worked in excess of 40 in a workweek as required by law and in fact was paid a
flat rate of $400 weekly which was often referred to by Defendant as $10 per hour. The
regular rate is the hourly rate paid to employees for the normal, non-overtime work week
for which they are employed See Walling v. Helmerich & Pavne, lnc., 323 U.S. 37, 41,
65 S.Ct. 11, 13, 89 L.Ed.2d 29 (1944). Using $10.00 per hour the unpaid overtime is 23
hours times $10 hour times 1.5 which equals $345 weekly. Plaintiff worked 52 weeks a
year and worked for Defendant during the entire period of the applicable limitations

period.

The unrefuted allegations and evidence shows that Defendant’ imposed working
requirements of 52 weeks a year and 63 hours a week with no benefits, this alone should
be sufficient to showed reckless disregard for the 40 hour per week limits in the FLSA
and the overtime requirements, even if the employer acted from a misinterpretation of` the
FLSA. Cole v. Farm Fresh Poultry, Inc., 824 F.2d 923, 927 (11th Cir.1987); Nelson v.
Alabama Inst. For Deaf& Blind, 896 F.Supp. 1108, 1113-14 (N.D.Ala.1995). As such
the Plaintiff has shown that the violation to be willful by showing a reckless disregard for
the 40 hour per week limits in the FLSA and the overtime requirements The starting
date of the period for which Cruz sought compensation is established by the fact that he

filed suit on August 12, 2008 and his last day of employment was February 22, 2008.

McLaughlin v. Richland Shoe Co., 486 U.S. 128, 132, 108 S.Ct. 1677, 1680-81, 100

 

 

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L.Ed.2d 115 § 1988). The total period in question is August 12, 2005 to his last day of
employment with Defendant which was 132 weeks. Total unpaid overtime is 132 * $345

= $45540.00

IV.
CONCLUSION & PRAYER
In conclusion, because there are no genuine issues of facts raised in this case regarding
whether Plaintiff in his capacity as an employee of Defendant was covered by the FLSA
and that the Defendant did not pay overtime to Plaintiff in accordance with the FLSA
and there is no genuine issues of fact regarding the amount of unpaid overtime wages
Plaintiff respectfully asks that this Court grant Plaintist Motion for Summary Judgment
against Defendants as follows:
a. For an Order pursuant to Section 16(b) of the FLSA finding Defendants
liable for unpaid back wages due to plaintiff in the amount of $45540.00 and for
liquidated damages in an equal amount; and

b. For an Order awarding the plaintiff the cost of this action which included filing
and service fees of $435.00

c. For an Order awarding Plaintiff their attorney fees in the amount of $3000; and

d. For and Order awarding the Plaintiff pre-judgment and post-judgment interest at
the highest rates allowed by law; and

e. For and Order granting such other and further relief as may be necessary

and for such other and further relief to which he may be entitled at law or in equity.

Respect lly submitted,
Durkin wOffices

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CERTIFICATE OF SERVICE

A true and correct copy of Plaintiff’s amended petition was been sent to Defendant by first class
mail this day of October, 2008.

cwt

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